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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

TAYLOR M. GUDE, a minor, by and              )
through her parents and next friends,        )
TOM GUDE, and CINDY GUDE,                    )
                                             )
                      Plaintiffs,            )                   8:07CV282
                                             )
               v.                            )
                                             )
FMSJBP, LLC, a Nebraska limited              )            ORDER OF DISMISSAL
liability corporation, HEALTH-RITE           )
PHARMACY, a member of Arizona                )
cooperative United Drugs, and R.PH.          )
BARBARA BOSTON,                              )
                                             )
                      Defendants.            )
                                             )


        The matter before the court is the parties' joint Stipulation to Dismiss without
Prejudice, Filing No. 20. The court finds that this matter should be dismissed without
prejudice.
        IT IS THEREFORE ORDERED that, pursuant to Fed. R. Civ. P. 41(a)(1), the
plaintiff’s cause of action against the defendants is hereby dismissed in its entirety,
without prejudice, and with the parties to be responsible for their own costs and attorney
fees.
        DATED this 19th day of October, 2007.

                                           BY THE COURT:



                                           s/ Joseph F. Bataillon
                                           Chief United States District Judge
